             I N T H E DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09 CR 25-10


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                      ORDER
                                       )
SAMUEL ALAN SWAYNGIM.                  )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on July 2, 2009.

It appearing to the court at the call of this matter on for hearing that the defendant was

present with his attorney, David G. Belser and the government was present and

represented through Assistant United States Attorney Corey Ellis.              From the

arguments of counsel for the defendant and the arguments of the Assistant United

States Attorney and the records in this cause, the court makes the following findings:

      Findings.     On April 7, 2009 a bill of indictment was issued charging the

defendant with conspiracy to traffic in methamphetamine, in violation of Title 21

U.S.C. § 841(a)(1) and 846.      On July 2, 2009, the undersigned held an inquiry,

pursuant to Rule 11 of the Federal Rules of Criminal Procedure, and accepted a plea

of guilty of the defendant to that charge. At the end of the Rule 11 proceeding, this

court presented the issue of whether or not the defendant should now be detained,




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pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence
             that the person is not likely to flee or pose a danger to any other
             person or the community.

      From an examination of the records in this cause, it appears that the defendant

has now entered a plea of guilty on July 2, 2009 to conspiracy to violate 21 U.S.C. §

841(a)(1). That crime is one of the crimes that is referenced under 18 U.S.C. §

3142(f)(1)(C). The undersigned has made an inquiry of Assistant United States

Attorney Corey Ellis as to whether or not there was going to be a recommendation

that no sentence of imprisonment be imposed upon the defendant. Mr. Ellis advised

the court that such a recommendation could not be made in this matter. As a result,

the undersigned cannot find there is a substantial likelihood that a motion for

acquittal or new trial will be granted or that an attorney for the government has


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recommended that no sentence of imprisonment be imposed upon the defendant. It

would thus appear, and the court is of the opinion that the court is required to apply

the factors as set forth under 18 U.S.C. § 3143(a)(2). The direction given in the

statute is one mandatory in nature. The statute provides as follows: “the judicial

officer shall order...”. As a result, the undersigned has no alternative other than to

issue an order revoking the terms and conditions of pretrial release of the defendant

and ordering that the defendant be detained.



                                      ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby REVOKED and it is ORDERED the defendant be

detained pending further proceedings in this matter.



                                          Signed: July 9, 2009




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